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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Maria R. Martinez
                                      Plaintiff,
v.                                                    Case No.: 1:18−cv−04334
                                                      Honorable Charles R. Norgle Sr.
Caliber Home Loans, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 8, 2019:


       MINUTE entry before the Honorable Charles R. Norgle: The status hearing on
settlement set for 1/9/2019 is reset to 1/23/2019 at 10:00 AM. Mailed notice(ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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